                 Case 2:11-cr-00427-TLN Document 241 Filed 10/28/16 Page 1 of 2


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 JARED C. DOLAN
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-0427 TLN
12                                 Plaintiff,            STIPULATION AND ORDER CONTINUING THE
                                                         JUDGMENT AND SENTENCING
13                           v.
14   VALERI MYSIN,
15                                Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for judgment and sentencing on December 15,

21 2016.

22          2.       By this stipulation, the parties now move to continue the judgment and sentencing until

23 February 16, 2017, at 9:30 a.m.

24 ///

25 ///

26 ///

27 ///

28 ///

                                                         1
                Case 2:11-cr-00427-TLN Document 241 Filed 10/28/16 Page 2 of 2


 1         3.       The reason for the continuance is that the parties anticipate further cooperation by

 2 defendant Valeri Mysin, including his testimony at various trials that have not yet commenced.

 3         IT IS SO STIPULATED.

 4
     Dated: October 27, 2016                                 PHILLIP A. TALBERT
 5                                                           Acting United States Attorney
 6
                                                             /s/ JARED C. DOLAN
 7                                                           JARED C. DOLAN
                                                             Assistant United States Attorney
 8

 9
     Dated: October 27, 2016                                 /s/ JOHN R. DUREE, JR.
10                                                           JOHN R. DUREE, JR.
11                                                           Counsel for Defendant
                                                             VALERI MYSIN
12

13

14

15                                                   ORDER

16         The judgment and sentencing for defendant Valeri Mysin is hereby continued to February 16,

17 2017. SO ORDERED.

18

19 DATED: October 28, 2016
                                                                   Troy L. Nunley
20                                                                 United States District Judge
21

22

23

24

25

26

27

28

                                                         2
